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                                        #:70


 1   RAMIRO MORALES, # 167947
     rmorales@mfrlegal.com
 2   LAURENCE S. NEAR, #178507
     lnear@mfrlegal.com
 3   MORALES FIERRO & REEVES
     2151 Salvio Street, Suite 280
 4   Concord, CA 94520
     Telephone: (925) 288-1776
 5   Facsimile: (925) 288-1856
 6   Attorneys for Plaintiff ACCEPTANCE
     INDEMNITY INSURANCE COMPANY
 7

 8                             UNITED STATES DISTRICT COURT
 9                         CENTRAL DISTRICT OF CALIFORNIA
10
     ACCEPTANCE INDEMNITY                     )       CASE NO.: 2:18-cv-02996 RGK
11                                            )       (FFMx)
     INSURANCE COMPANY,                       )
12                                            )
                  Plaintiff,                  )       [PROPOSED] JUDGMENT ON
13                                            )       ACCEPTANCE INDEMNITY
                                              )       INSURANCE COMPANY’S
14         v.                                 )       MOTION FOR DEFAULT
                                              )       JUDGMENT
15                                            )
     JAMES BRAY dba TEXAS PRIDE               )
16   TRAILERS,                                )
17
                                              )
                                              )
                  Defendant.                  )
18                                            )
19

20         On May 24, 2018, the Clerk entered default against Defendant JAMES BRAY
21   dba TEXAS PRIDE TRAILERS (ECF No. 11.) On June 25, 2018, Plaintiff
22   ACCEPTANCE INDEMNITY INSURANCE COMPANY filed a Motion for Default
23   Judgment against the Defendant (ECF No. 13.) On July 26, 2018, the Court, having
24   considered the Motion for Default Judgment and its supporting papers, and having
25   found that Plaintiff satisfied the procedural and substantive requirements for
26   obtaining a default judgment, granted the motion (ECF No. 18).
27         For the reasons stated in this Court’s Order granting Plaintiff’s Motion for
28   Default Judgment (ECF No. 18), the Court hereby orders as follows:

                                                  1
     [PROPOSED] JUDGMENT                                      CASE NO.: 2:18-cv-02996 RGK (FFMx)
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                                       #:71


 1          Acceptance Indemnity Insurance Company owes no duty to defend James
 2          Bray in the action styled Karen Montano et. al. v.Texas Pride Trailers, Inc. et
 3          al., Superior Court, Orange County, Case No. 30:2017-00913743-CU-PP-CJC
 4          (“Underlying Action”) under Acceptance Indemnity Insurance Company
 5          policy no. LB00013085 issued to James Bray DBA Texas Pride Trailers
 6          (“Policy”); and
 7          Acceptance Indemnity Insurance Company owes no duty to indemnify James
 8          Bray under the Policy against the damages sought from James Bray in the
 9          Underlying Action.
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11   IT IS SO ORDERED.
12

13   August 03, 2018                                 ________________________
14   Date                                            Judge R. Gary Klausner, U.S.D.J.
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     [PROPOSED] JUDGMENT                                    CASE NO.: 2:18-cv-02996 RGK (FFMx)
